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 6 United States of America

 7                               IN THE UNITED STATES DISTRICT COURT

 8                                 EASTERN DISTRICT OF CALIFORNIA

 9   UNITED STATES OF AMERICA,                          CASE NO. 1:13-CR-00389-DAD

10                                Plaintiff,            MOTION TO DISMISS INDICTMENT; AND
                                                        ORDER
11                          v.

12   RICARDO MOJICA,

13                                Defendant.

14

15          The United States of America (“the government”), by and through MCGregor W. Scott, United
16 States Attorney and Melanie L. Alsworth, Assistant United States Attorney, hereby moves this Court for

17 permission to dismiss without prejudice the superseding indictment pending against defendant Mojica in

18 Case No. 1:13-CR-00389-DAD.

19          Good cause exists to dismiss without prejudice the superseding indictment in the interest of
20 justice, and pursuant to Fed. R. Crim. P. 48(a), for the following reasons: This action has been pending

21 for approximately 4 years. The government has reviewed the evidence in this case. Considering the

22 long period of non-activity, and the availability of witnesses and evidence, among other reasons, the

23 gravity of the offense does not justify continued efforts to prosecute defendant Mojica. For these

24 reasons, the government moves for dismissal of the superseding indictment against defendant Mojica.

25                                                          MCGREGOR W. SCOTT
     Dated: March 14, 2019.                                 United States Attorney
26
27                                                          /s/Melanie L. Alsworth
                                                            MELANIE L. ALSWORTH
28                                                          Assistant United States Attorney

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 1

 2                                                      ORDER

 3         On the basis of good cause, to serve the interest of justice, pursuant to the government’s motion

 4 and Fed. R. Crim. P. 48(a), the superseding indictment against defendant Ricardo Mojica pending in

 5 Case Number 1:13-CR-00389-DAD shall be DISMISSED without prejudice.

 6
     IT IS SO ORDERED.
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 8
        Dated:    March 14, 2019
                                                     UNITED STATES DISTRICT JUDGE
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